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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


                                        CRIMINAL MINUTES

Date: September 9, 2020            Time: 11:01 – 11:31            Judge: MAXINE M. CHESNEY
                                         = 30 minutes
Case No.: 18-cr-00465-MMC- Case Name: UNITED STATES v. United Microelectronics Corporation
1                                                                     Fujian Jinhua Integrated Circuit

Attorney for Plaintiff: Laura Vartain Horn, Nicholas Hunter, Steve Marsden
Attorney for Defendant (United Microelectronics): Leslie Caldwell
Attorney for Defendant (Fujian Jinhua): Matthew Sloan, Jack DiCanio

 Deputy Clerk: Tracy Geiger                          Court Reporter: JoAnn Bryce
 Interpreter: N/A                                    Probation Officer: N/A


                                           PROCEEDINGS


Motion/Trial Setting Hearing – held by AT&T teleconference.

Due to the COVID-19 pandemic, all parties consent to having this matter heard by telephone.
The Court found good cause to proceed by way of teleconference, as well.

Dispositive Motion filing deadline set for April 23, 2021.

Parties to submit a proposed pretrial schedule no later than September 30, 2020.

Proposed schedule to include: Discovery cut-off; Motion in Limine schedule; Further Status Conference;
and Exclusion of Time.

CASE CONTINUED TO: July 13, 2021 at 10:00 AM for Final Pretrial Conference

CASE CONTINUED TO: August 9, 2021 at 9:00 AM for Jury Trial (4 – 8 weeks)

EXCLUDABLE DELAY:
Category: Preparation of Counsel
Begins: September 9, 2020
Ends: September 30, 2020
